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                              Binance.US will become a crypto-only exchange.             Learn More




           BAM PLATFORM TRADING RULES
           BAM Trading Services Inc., a Delaware corporation ("BAM," doing business as "Binance US"), operates
           the "BAM Platform", a Digital Assets trading platform, at https://www.binance.us. Capitalized terms
           used but not defined herein shall have respective meanings given to such terms in the User
           Agreement.


           The BAM Platform currently offers the following Digital Assets trading services module:

                   The spot purchase and sale of Digital Assets on a many buyers and many sellers basis through a
                   central order book matching facility, known as the multilateral trading service (the "Multilateral
                   Trading Service").

           The following set of Trading Rules governs all Orders and Transactions on the BAM Platform, and will
           apply to a Trader immediately upon the opening of an Account and/or immediately upon the Trader's
           first request to BAM to utilize the BAM Platform. The Trading Rules operate as a binding contract
           between BAM and each Trader, and between a Trader and any other Trader.


           The terms in these Trading Rules may be amended, supplemented and/or replaced from time to time,
           in accordance with Clause 14.5 of the User Agreement.


           In the event that there is any conflict between these Trading Rules and any other statement whether
           written or oral made by BAM at any time (excluding the statements in the Trading Agreements), the
           terms of these Trading Rules shall prevail. In the event there is any conflict between the terms of
           these Trading Rules and any of the Trading Agreements, the terms of such Trading Agreement shall
           prevail.


           Except where these Trading Rules express to the contrary, the Trading Rules shall be construed in
           accordance with, and governed by, the laws of the State of California applicable to contracts executed
           and to be wholly performed within such state. Any dispute or controversy arising out of or relating to
           this Agreement shall be settled by arbitration in accordance with the rules of the American Arbitration
           Association and judgment upon the award may be entered in any court having jurisdiction thereover.Help


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           The arbitration shall be held in San Francisco County or in such other place as the parties hereto may
           agree.


           BAM shall not be liable for anything done or omitted in accordance with these Trading Rules.


           DEFINITIONS


           In these Trading Rules, unless the context otherwise requires, the following words and expressions
           shall bear the following meanings:


           "Account" means an account of a User opened and maintained with BAM for purposes of procuring
           any Services or an account of a Market Maker opened and maintained with BAM for the purposes of
           carrying out market making activities on the BAM Platform, as the case may be.


           "API" means application programming interface.


           "Asset" means a Digital Asset or Fiat Currency.


           "Available Balance" means a Trader’s Total Asset Value less any amounts held for Open Orders,
           Locked Asset Value, Withdrawing Asset Value and fees.


           "Base Asset" means the Asset being traded on the Order Book; the first Asset in the Trading Pair. For
           example, on the BTC/USD Order Book, BTC is the Base Asset and USD is the Quote Asset.


           “BAM APIs” means the APIs made available by BAM to Traders as a service, including without
           limitation such APIs that facilitate Traders' access to the Services and/or the BAM Platform, and any
           services, functions and features made available through such APIs by or on behalf of BAM.


           "BAM" has the meaning ascribed to it in the recital above.


           "BAM Platform" has the meaning ascribed to it in the recital above.


           "Cancel-only Mode" means an operation mode of the BAM Platform during which Traders are not able
           to place new Orders, but are able to cancel Open Orders. Further, no Orders will be Filled during the
           Cancel-only Mode.


           "Clearly Erroneous Transaction" has the meaning given to it in Clause 4.2.1(d) below.


           "Digital Asset" means any digital asset (also known as a "cryptocurrency" or "virtual currency")
           including but not limited to bitcoin and ether, which is issued, stored and/or transferred based on theHelp

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           protocol of a computer network known as a blockchain or a public transaction ledger.


           "Fee" has the meaning given to it in Clause 3.1.1 below.


           "Fiat Currency" means a lawful currency of a nation's government.


           "Fill" means a match of two Orders.


           "Full Trading Mode" means the normal operation of the BAM Platform, during which Traders can place
           Market Orders and Limit Orders and can cancel Open Orders.


           "Hold" means the setting aside of Assets allocated to an Order.


           "Indemnified Persons" has the meaning given to it in Clause 2.10.1 below.


           "Instruction" means any instruction, request or order given to BAM (whether through the BAM APIs or
           otherwise) in relation to the operation of any Account or to execute any Transaction, through such
           medium and in such form and manner as BAM may require, and includes any instruction, request or
           order to revoke, ignore or vary any previous instruction, request or order in respect of any Account or
           Transaction.


           "Limits" means the limits on the value of Transactions, or deposits into or withdrawals out of Linked
           Wallet(s), which are set out on the Website.


           "Limit Order" means an Order to buy or sell a specified quantity of an Asset at a specified price or
           better.


           "Linked Crypto Wallet" means any Linked Wallet used to store Digital Assets for the purposes of
           trading on the BAM Platform.


           "Linked Fiat Wallet" means any Linked Wallet used to store Fiat Currency for the purposes of trading
           on the BAM Platform.


           "Linked Wallet" means any wallet or account linked to an Account which is used for the storage of any
           Fiat Currency and/or Digital Asset to be traded on the BAM Platform. A Linked Wallet may be operated
           by BAM or a third party, and may be an omnibus wallet or account linked to multiple Traders and/or
           Accounts.


           "Linked Wallet Addendum" means the additional terms and conditions between the Traders and BAM
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           in relation to Linked Wallets operated by BAM or a third party, as set out in the addendums to the User

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           Agreement which are incorporated by reference to the User Agreement.


           "Locked Asset Value" means the value of a Trader's Assets subject to a Hold.


           "Maker Order" has the meaning given to it in Clause 2.7.2 below.


           "Market Data" has the meaning given to it in Clauses 5.1.1 and 5.1.2 below.


           "Market Maker" means a person who on an organized, continuous and systematic basis enters into
           Transactions in Digital Assets on the BAM Platform for its own account and thereby create a market
           for such Digital Assets. For the avoidance of doubt, a Market Maker is also a User.


           "Market Maker Agreement" means the agreement, written or verbal, entered into between BAM and
           the Market Maker in respect of the Market Makers' market making activities on the BAM Platform, as
           amended, supplemented or replaced from time to time.


           "Market Manipulation" has the meaning given to it in Clause 4.6.2 below.


           "Market Order" means an Order to buy or sell a specified quantity of an Asset at the best available
           price of existing Orders on the Order Book.


           "Order" means an instruction to buy or sell a specified quantity of the Base Asset at a specified price
           in the Quote Asset.


           "Order Book" means each order book on which Orders are placed for trading in a Trading Pair.


           "Open Order" means a Maker Order which has been posted but not Filled, cancelled or expired, or a
           Stop Order which is currently active.


           "Price-Time Priority" has the meaning given to it in Clause 2.8.2 below.


           "Quote Asset" means the Asset in which trading is denominated on the Order Book; the second Asset
           in the Trading Pair. For example, on the BTC/USD Order Book, BTC is the Base Asset and USD is the
           Quote Asset.


           "Scheduled Downtime" means a planned temporary outage for maintenance or upgrades. See Clause
           4.


           "Services" refers to the Digital Asset trading services on the BAM Platform provided by BAM.
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           "Stop Limit Order" has the meaning given to it in Clause 2.5.4 below.


           "Stop Market Order" has the meaning given to it in Clause 2.5.4 below.


           "Stop Order" means an instruction to post an Order to buy or sell a specified quantity of an Asset but
           only if and when the last trade price on the Order Book is equal to, (in the case of a sell Stop Order)
           lower than or (in the case of a buy Stop Order) higher than, the Stop Price.


           "Stop Price" means the price specified in a Stop Order.


           "Taker Order" has the meaning given to it in Clause 2.7.1 below.


           "Time in Force Instruction" refers to the Instructions described in Clause 2.3.5 below.


           "Total Asset Value" means the gross value of all of a Trader's Assets for the relevant Order Book,
           expressed in the Quote Asset based on the last trade price. This includes all Assets allocated to Open
           Orders.


           "Trader" means a User or a Market Maker trading on the BAM Platform.


           "Trading Agreements" means the User Agreement and the Market Maker Agreement.


           "Trading Pair" means each pair of a Base Asset and a Quote Asset offered on the BAM Platform.


           "Transaction" means any sale, purchase or other transaction in such Digital Asset(s) or such other
           asset(s) or product(s) as BAM may from time to time permit to be carried out on the BAM Platform.


           "User" means any individual, corporation, legal person, entity or other organization who is using the
           Services.


           "User Agreement" means the agreement entered into between BAM and each User in respect of the
           User's use of the BAM Platform (including the User's access to the Website and the BAM APIs) and the
           Services made available through the Website or the BAM APIs, as amended, supplemented or
           replaced from time to time.


           "Web Interface" means the user interface that is implemented in the form of a web page, and
           accessed through the Website.


           "Website" means BAM's website at https://www.binance.us.
                                                                                                                     Help


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           "Withdrawing Asset Value" means the value of a Trader's Assets in a Linked Wallet which is subject to
           a withdrawal Instruction.


           1. RESERVED


           2. TRADING ON THE CENTRAL ORDER BOOK TRADING PLATFORM

           2.1. BAM operates a central order book trading platform and settles trades in a number of Digital Asset
           and Fiat Currency Trading Pairs. Each Trader’s Account will list which Order Books are available to the
           Trader to trade in.


           2.2. Orders


           2.2.1 To place an Order on an Order Book, a Trader must have an Available Balance of the relevant
           Asset in the Linked Wallet which is sufficient to cover the total value of the Order plus any applicable
           Fees.


           2.2.2 When a Trader places an Order, that quantity of the relevant Asset becomes subject to a Hold.


           2.2.3 A Trader can place an Order as either a Limit Order, a Market Order, or a Stop Order.


           2.2.4 A Trader may cancel an open Maker Order or Stop Order at any time before it is Filled. No Fees
           are charged for such cancelled Orders which are not Filled.


           2.3. Limit Orders


           2.3.1 A Limit Order is an Order to buy or sell a specified quantity of an Asset at a specified price or
           better.


           2.3.2 A Limit Order will only ever Fill at the specified price or a better price.


           2.3.3 A Limit Order with "post-only" selected will only be posted to the Order Book if it would not be
           posted at the same price as an existing Order on the Order Book. A Limit Order with ‘post-only’
           selected will always be a Maker Order.


           2.3.4 A Limit Order without "post-only" selected will be immediately posted to the Order Book (subject
           to any Time in Force Instructions) and can result in a Maker Order or a Taker Order, or an Order that is
           partially a Maker Order and partially a Taker Order.


           2.3.5 Limit Orders may be placed with one of the following Time in Force Instructions.                    Help


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        a. Good till cancelled: if posted, the Order will remain on the Order Book until cancelled by the Trader.
           This is the default Time in Force Instruction.

        b. Immediate or cancel: the Order will only be posted to the Order Book to the extent that it would be
           immediately Filled; any remaining quantity is cancelled. This results in a Taker Order.

        c. Fill or kill: the Order will only be posted to the Order Book if it would be immediately and completely
           Filled. This results in a Taker Order.

           2.4. Market Orders


           2.4.1 A Market Order is an Order to buy or sell a specified quantity of an Asset at the best available
           price of existing Orders on the Order Book.


           2.4.2 A Market Order may Fill at a number of different prices, based on the quantity of the Market
           Order and the quantities of the existing Orders on the Order Book at the time.


           2.4.3 Depending on the volume and prices of Orders on the Order Book at the time when a Market
           Order is posted, the Market Order may Fill at a price less favorable than the most recent trade price, in
           some cases significantly so. This is commonly referred to as "slippage".


           2.4.4 A valid Market Order will be immediately posted to the Order Book. A Market Order is always a
           Taker Order.


           2.5. Stop Orders


           2.5.1 A Stop Order is an instruction to post an Order to buy or sell a specified quantity of an Asset but
           only if and when the last trade price on the Order Book is equal to, (in the case of a sell Stop Order)
           lower than or (in the case of a buy Stop Order) higher than, the Stop Price.


           2.5.2 Once a Stop Order has been placed, it is considered ‘active’ until it executes by posting the
           relevant Order when the Stop Price is reached.


           2.5.3 A Stop Order is not posted to the Order Book and is not visible to other Traders, but any resulting
           Order is posted and visible.


           he Stop Price is reached, or a Stop Limit Order, which posts a Limit Order when the Stop Price is
           reached.


           2.5.5 A Stop Market Order is subject to slippage in the same way as ordinary Market Orders. A Stop
           Limit Order is not guaranteed to Fill. The Web Interface will display a warning each time a Trader        Help
           attempts to place a Stop Order.
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           2.6. Confirmations


           2.6.1 BAM will require Traders to provide a confirmation when Traders attempt to place an Order
           which would completely or partially fill at a price which is more than 5% away from the last trade price
           (slippage warning).


           2.7. Posting of Orders to the Order Book


           2.7.1 (Taker Order) If an Order is posted to the Order Book at the same price as one or more existing
           Orders, it is a Taker Order which will result in an immediate Fill at that price, to the extent of the total
           quantity of those existing Orders.


           2.7.2 (Maker Order) To the extent that an Order is posted to the Order Book at a different price to all
           existing Orders, it is a Maker Order which will remain open at that price on the Order Book until:

        a. it is cancelled by the Trader; or

        b. it is completely Filled by one or more Taker Orders placed by another Trader at the same price.

           2.8. Matching Engine and Order Priority


           2.8.1 The BAM Platform matches Taker Orders with open Maker Orders on each Order Book based on
           Price-Time Priority.


           2.8.2 Price-Time Priority means that each time a Taker Order is posted, the Taker Order is matched
           with the earliest in time Maker Order at the best price on the Order Book; and to the extent that the
           Taker Order is not completely Filled by that Maker Order, it is matched with any subsequent Maker
           Orders at that price, in the sequence those Maker Orders were posted; and to the extent that the Taker
           Order is not completely Filled by one or more Maker Orders described above, it is matched with one or
           more Maker Orders at the next best price, in the sequence those Maker Orders were posted, and this
           process is repeated until the Taker Order is completely Filled.


           2.8.3 All Traders accessing the BAM Platform are subject to the same Price-Time Priority.


           2.8.4 An Order may be matched with a number of corresponding Orders at the same price.


           2.8.5 Taker Orders are matched with the best available existing Maker Orders. This means that a Limit
           Order placed outside the market (i.e. a sell Order below the highest existing buy Order, or a buy Order
           above the lowest existing sell Order) will be Filled by the best available existing Order rather than an
           existing Order with the same price as the Limit Order.

                                                                                                                      Help
           2.9. Fills and Settlement

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           2.9.1 When a Maker Order is matched with a Taker Order, those Orders are Filled. An Order may be
           matched with and Filled by one or more Orders at the same price.


           2.9.2 As and when Orders are Filled, the BAM Platform will promptly proceed to effect the settlement
           of such Filled Orders, by debiting and crediting the relevant Digital Asset balances in the Linked Crypto
           Wallet(s).


           2.9.3 The BAM Platform settles the Fiat Currency payments in all Filled Orders on a periodic basis, by
           debiting and crediting the relevant Fiat Currency balances in the Linked Fiat Wallet(s).


           2.9.4 The Trader acknowledges and agrees that there is no assurance or guarantee that an Order will
           be Filled and/or settled.


           2.10. Exclusion of Liability


           2.10.1 Under no circumstances shall any of (a) BAM, (b) BAM’s shareholders, joint venture parties,
           affiliates and related corporations and entities, and (c) the officers, directors, employees,
           representatives, agents, suppliers and service providers of all of the persons and entities described in
           (a) and (b) ((a), (b) and (c) collectively, the "Indemnified Persons") be responsible or liable for any
           direct or indirect losses (including loss of profits, business or opportunities), damages or costs
           suffered by any Trader or any other person or entity, arising from or in connection with (a) any act,
           omission, negligence, breach, offence or default committed by or attributable to any other Trader(s)
           and/or (b) any Order and/or Transaction failing to be Filled, completed and/or settled, whether this
           failure is attributable to BAM or otherwise.


           3. TRADING TERMS

           3.1. Trading Fees


           3.1.1 BAM charges a fee for each Transaction ("Fee"). The applicable Fee is deducted from the Asset
           credited to the Linked Wallet in settlement of the Transaction following the Filling of an Order. The
           current Fee rates can be found at the Website.


           3.1.2 The Fee is charged by debiting the Fee from the Linked Fiat Wallet or the Linked Crypto Wallet (as
           the case may be, in accordance with Clause 3.1.1 above) following the Filling of an Order.


           3.1.3 BAM may charge different Fees to different Traders, for different types of Orders, on different
           Order Books, or based on any other factors, at BAM's sole discretion. Any such different Fees, and any
           changes to any Fees, will be reflected on the Website and will take effect at the time the updated Fee
           rates are published, or the later date set forth in any revision.                                    Help


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           3.2. Trading Hours


           3.2.1 Subject to Scheduled Downtime, or the disabling, termination or suspension of any Service in
           accordance with these Trading Rules and/or the User Agreement, the Services will be made available
           24 hours a day, 7 days a week.


           3.3. Withdrawal of Assets


           3.3.1 Subject to any Limits imposed by BAM, a Trader may withdraw some or all of its Digital Assets
           from the Linked Crypto Wallet(s).


           3.3.2 Subject to any Limits imposed by BAM and the terms set out in any Linked Wallet Addendums, a
           Trader may withdraw some or all of its Fiat Currency from the Linked Fiat Wallet(s).


           4. MARKET INTEGRITY

           4.1. All trades are final


           4.1.1 Subject to Clause 4.2 below, all Fills are final, and no Trader shall have the right to reverse or
           cancel any Transaction or Fill.


           4.2. Reversal, cancellation, modification and/or disregard of trades


           4.2.1 BAM may, in its sole and absolute discretion, reverse, cancel, modify and/or disregard any
           Transaction, Fill, Order or Instruction under any circumstance and for whatever reason or no reason
           whatsoever, including but not limited to where:

        a. BAM is compelled to do so by any applicable law or regulation, including but not limited to where BAM
           is required to suspend or terminate a Trader’s Account;

        b. due to a technical error, Transactions, Orders, or Fills do not occur as specified in these Trading Rules;

        c. Orders placed by Traders who, in our sole discretion, have engaged in abusive use of the platform, for
           example, Market Manipulation, or using the BAM APIs in a manner which unreasonably burdens the
           BAM Platform;

        d. Orders which involve an obvious error with respect to price, quantity, or other parameters – a "Clearly
           Erroneous Transaction". In determining whether a transaction is a Clearly Erroneous Transaction, BAM
           will take into account the circumstances at the time of the transaction, the need to preserve the
           integrity of the market, and the need to maintain a fair and orderly marketplace. The Trader agrees and
           understands that if BAM determines a transaction to be a Clearly Erroneous Transaction, BAM may
           declare it null and void, in whole or in part, even if the Trader and/or the other party do not agree to Help
           cancel or modify it; and/or
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        e. for technical reasons or to maintain the proper functioning of the BAM Platform, it would be necessary
           or desirable to do so.
           4.2.2 Under no circumstances shall any of the Indemnified Persons be responsible or liable for any
           direct or indirect losses (including loss of profits, business or opportunities), damages or costs
           suffered by any Trader or any other person or entity, arising from or in connection with BAM's decision
           to reverse, cancel, modify and/or disregard any Transaction, Fill, Order, or Instruction.


           4.3. Access to the BAM Platform


           4.3.1 Subject to the terms and conditions of the Trading Agreements, all Traders have equal access to
           the BAM APIs and Web Interfaces. BAM does not provide prioritized access to any Trader.


           4.3.2 BAM has the authority to take any action that it deems appropriate in its sole and absolute
           discretion to preserve market integrity. Such actions include, but are not limited to, the halting of
           trading, modifying risk-mitigating parameters, restricting Trader access to the BAM Platform,
           restricting Order types to Limit Orders only, cancelling Orders resting in the Order Book, or any other
           action that BAM deems to be in its best interest.


           4.4. Interruptions


           4.4.1 If technical reasons prevent or degrade Traders’ ability to place or cancel Orders, or prevent or
           degrade access to the BAM APIs or the Web Interfaces or affect the operation of the BAM Platform's
           Order Books, matching engines or any other systems or processes, then BAM may, in its discretion,
           take one or more of the following actions (where applicable) in respect of one or more Order Books
           pursuant to the Multilateral Trading Service or in respect of the purchase or sale of Digital Assets
           pursuant to the One Click Buy/Sell Service:

        a. disable or suspend the depositing or withdrawing of Assets;

        b. reverse, cancel, modify and/or disregard Open Orders;

        c. disable or suspend the ability to place new Orders;

        d. disable or suspend any entry into, completion and/or settlement of any Filled Orders, and/or
           Transactions;

        e. disable or suspend sign-in;

        f. disable or suspend the BAM APIs; and/or

        g. disable or suspend access to the Web Interface.

           4.4.2 In the case of the Multilateral Trading Service:

        a. If access to the BAM Platform through the Web Interface is unavailable for 5 minutes or longer, BAMHelp
           may choose to move the BAM Platform to Cancel-Only Mode as soon as possible.
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        b. If the BAM Platform is in Cancel-Only Mode, it will be restored to Full Trading Mode only after access
           through the Web Interface becomes available for at least 5 minutes and BAM deems is it safe to
           restore the BAM Platform to Full Trading Mode.

        c. BAM will notify Traders of the move to or from Cancel-Only Mode via our website

           4.5. Flash Crashes and Circuit Breakers


           4.5.1 The BAM Platform does not use circuit breakers or automated trading halts based on
           predetermined price bands. However, as provided in Clauses 4.3.2 and 4.4.1, BAM may, in its
           discretion, halt trading.


           4.6. False Trading and Market Manipulation Prohibited


           4.6.1 Traders are prohibited from engaging in Market Manipulation.


           4.6.2 Market Manipulation of any kind is strictly prohibited. Market Manipulation is defined as any
           action taken or procured to be taken, or any course of conduct, by any person (whether acting alone or
           in concert with other person(s)) which is intended to, or does, or is likely to:

        a. create a false or misleading appearance:

        b. of active trading in any Digital Asset on the BAM Platform; or

        c. with respect to the market for, or the price of, any Digital Asset traded on the BAM Platform;

        d. artificially control or manipulate the price or trading volume of a Digital Asset, including but not limited
           to maintaining, inflating, depressing or causing fluctuations in the market price of a Digital Asset; or

        e. aid, abet, enable, finance, support, or endorse any of the above.

           For the avoidance of doubt, Market Manipulation may include, without limitation, any action or course
           of conduct carried out or undertaken on the BAM Platform and/or outside of the BAM Platform.


           4.6.3 A Trader must also not effect, take part in, be concerned in or carry out, directly or indirectly, 2 or
           more Transactions in Digital Assets being Transactions that have, or are likely to have, the effect of
           raising, lowering, maintaining or stabilizing the price of the Digital Asset, with the intent to induce
           other persons to purchase or sell such Digital Assets.


           4.7. False or Misleading Statements


           4.7.1 Traders are prohibited from making false or misleading statements or disseminating information
           that is false or misleading in a material particular and is likely:

        a. to induce other persons to purchase or sell Digital Assets; or                                             Help


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        b. to have the effect (whether significant or otherwise) or raising, lowering, maintaining or stabilising the
           market price of Digital Assets.
           4.8. Employment of Manipulative and Deceptive Devices


           4.8.1 Traders are prohibited from engaging in manipulative or deceptive conduct in connection with
           the purchase or sale of any Digital Asset. Examples of manipulative or deceptive conduct include:

        a. employing any device, scheme or artifice to defraud;

        b. engaging in any act, practice or course of business which operates as a fraud or deception, or is likely
           to operate as a fraud or deception, upon any person;

        c. making any statement the Trader knows to be false in a material particular; or

        d. omitting to state a material fact necessary in order to make the statements made, in the light of the
           circumstances under which they were made, not misleading.

           5. ACCESS TO INFORMATION

           5.1. All Traders have full and equal real-time access to Market Data. Market Data is made available
           through the Web Interface or through other avenues which BAM may make available from time to time
           in its sole discretion, including the BAM APIs.


           5.1.1 Market Data comprises the following: all Limit Orders placed on the Order Book (price, quantity,
           and time), and all Fills (price, quantity, and time)


           5.1.2 Market Data does not include the following:

        a. resting Stop Orders (Stop Orders that have been placed but where the Stop Price has not been
           reached); and

        b. any information about the Trader that placed any Order.

           5.2. BAM Corporate Operations


           5.2.1 BAM which owns and operates the BAM Platform, or any of its affiliates, may also trade on the
           BAM Platform.


           5.2.2 BAM and its affiliates is subject to the same Price-Time Priority as all other Traders.


           5.2.3 BAM and any of its affiliates that trades on the BAM Platform only trades based on Market Data
           and does not have access to any inside information. It does not engage in any front-running.


           5.2.4 All trades of Assets by BAM or its affiliate for its proprietary account will be made under a
                                                                                                                   Help
           separate Account and Linked Wallet.

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           5.3. BAM Employee Access


           5.3.1 BAM’s policies prohibit all BAM’s employees from using inside, corporate or proprietary
           information to trade Digital Assets.


           6. SCHEDULED DOWNTIME

           6.1. From time to time, BAM may suspend trading temporarily for maintenance or upgrades. Absent
           extenuating circumstances, the BAM Platform will use reasonable endeavors to follow the following
           process for closing and re-opening trading:

                   Step 1: Announce Scheduled Downtime

                   Step 2: Scheduled Downtime Begins

                   Step 3: Immediately after Scheduled Downtime is completed, all Order Books to enter into
                   Cancel-only Mode

           6.2. Approval of Market Makers


           6.2.1 A corporation may be approved by BAM as a Market Maker, in which case the corporation shall
           execute a Market Maker Agreement in such form and content prescribed by BAM.


           6.3. Obligations of a Market Maker


           6.3.1 The Market Maker shall comply with this set of Trading Rules.


           6.3.2 The Market Maker shall continually, or upon demand, place two-way quotes in all Digital Assets
           covered by its Market Maker obligations:

                   (a) on a continuous basis or in such manner as BAM specifies in the relevant Market Maker
                   Agreement to provide for an adequately liquid market;

                   (b) within the maximum spread that BAM specifies in the relevant Market Maker Agreement;

                   (c) for not less than the minimum quantity that BAM specifies in the relevant Market Maker
                   Agreement; and

                   (d) in accordance with such other requirements or specifications as BAM may from time to time
                   impose in the relevant Market Maker Agreement.

           6.3.3 BAM may grant exemptions from the Market Maker obligations for a limited period of time in
           exceptional circumstances for a specific or all Market Makers in one or several Digital Assets. BAM will
           use reasonable endeavors to make public the occurrence of exceptional circumstances as soon as
           reasonably possible when it has become aware of such occurrence. It shall also make public the       Help
           resumption of normal trading after such exceptional circumstances have ceased to exist.
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           6.3.4 The obligation to continually and upon request place two-way quotes shall apply within the BAM
           Platform opening hours at the times stated in the relevant Market Maker Agreement. After the Filling
           of Orders or after the re-opening of the BAM Platform after extraordinary closure or scheduled
           downtime, the Market Maker shall, promptly or within a certain grace period (if any) stated in the
           relevant Market Maker Agreement, place new two-way quotes.


           6.3.5 The Market Maker shall appoint and notify BAM one or more natural persons who shall be
           continuously responsible for the market making function during the BAM Platform opening hours.


           6.4. Suspension and Restriction of Activities


           6.4.1 BAM may suspend or restrict the activities of a Market Maker for such period as BAM specifies if
           the Market Maker:

                   (a) fails to comply with any of the provisions in these Trading Rules or in the relevant Market
                   Maker Agreement;

                   (b) defaults on any trade in Digital Assets;

                   (c) in BAM's opinion, is in financial or operating difficulty;

                   (d) is suspected of manipulating or distorting the market for a Digital Asset or attempting to do
                   so;

                   (e) is the subject of a written complaint involving an allegation of fraud or dishonesty, whether in
                   or out of the United States;

                   (f) is the subject of an investigation involving an allegation of fraud or dishonesty, whether in or
                   out of the United States;

                   (g) engages in conduct detrimental to the financial integrity, reputation or interests of BAM, or
                   the BAM Platform; or

                   (h) refuses to provide BAM with information to aid BAM in its investigation of the Market Maker
                   for suspected manipulation or other breach of these Trading Rules.

           6.4.2 BAM may modify, suspend or terminate the activities of the Market Maker where extreme market
           conditions arise. In such an event, BAM would issue a general notice to all Traders.


           6.5. Revocation of Approval of Market Maker


           6.5.1 BAM may revoke the approval of a Market Maker by terminating the Market Making Agreement in
           accordance with the terms of the Market Making Agreement.


           6.6. Resignation of Market Maker                                                                          Help


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           6.6.1 A Market Maker who intends to resign from making a market for a specified Digital Asset must
           give at least 30 days written notice to BAM, stating the proposed date of resignation.


           6.6.2 A Market Maker who intends to resign from making a market for all Digital Assets must terminate
           its Market Maker Agreement in accordance with the terms of the relevant Market Maker Agreement.


           6.6.3 A Market Maker must continue to comply with the Trading Rules and the relevant Market Making
           Agreement until the date of resignation.


           6.7. Obligations of former Market Maker


           6.7.1 A former Market Maker remains liable to BAM, the Users and other Market Makers for any
           liabilities incurred during the period as a Market Maker under these Trading Rules.


           [Last revised: September 18, 2019]




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